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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA,
    Plaintiff,

   v.                                       CRIMINAL ACTION NO.:
                                            1:20-CR-00466-AT-AJB
RICHARD TYLER HUNSINGER,
   Defendant.

  MOTION TO WITHDRAW MOTION TO RECONSIDER DETENTION
           ORDER AND SET A REASONABLE BOND

        COMES NOW Defendant, RICHARD TYLER HUNSINGER, by and through

undersigned counsel, and withdraws his Motion to Reconsider Detention Order and

Set a Reasonable Bond. The Government has incorrectly alleged the analysis of the

motion to reconsider falls under the narrow constraints of 18 U.S.C. § 3142(i). Rather

than dispute these claims and waste precious time as Christmas rapidly approaches

and a “surge within a surge” of the Covid-19 pandemic threatens, Mr. Hunsinger will

appeal directly to the District Court which has de novo review power that is not

subject to the Government’s unsubstantiated challenge.

        WHEREFORE, RICHARD TYLER HUNSINGER withdraws his Motion to

Reconsider Detention Order and Set a Reasonable Bond.

        DATED: This 16th day of December, 2020.
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                                  Respectfully Submitted,
                                  /s/ John Lovell
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              CERTIFICATE OF COMPLIANCE AND SERVICE

      I hereby certify that the foregoing document was formatted in New Times

Roman 14 pt., in accordance with Local Rule 5.1B, and I have this day electronically

filed the document with the Clerk of the Court using the CM/ECF system which will

automatically send e-mail notification of such filing to the attorney(s) of record in the

case, including opposing counsel.

      Dated: This 16th day of December, 2020.

                                  /s/ John Lovell
                                  John Lovell
                                  Attorney for Defendant
                                  Georgia Bar No. 359390




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